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                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION


 MIDDLEBURG MANAGEMENT, LLC,
 F/K/A OLD DOMINION MANAGEMENT
 SERVICES, LLC,

 and

 CHRISTOPHER C. FINLAY

                         Plaintiffs,                  Case No.:     1:16-cv-01558

         V.                                           (Removed from the Circuit Court of Fairfax
                                                      County, Virginia, Case No. CL-16-15060)
 CHUBB LIMITED, F/K/A ACE LIMITED,
                                                      State Action Filed: October 31, 2016
 WESTCHESTER FIRE INSURANCE
 COMPANY,

 and

 BEECHER CARLSON INSURANCE
 SERVICES, LLC

                         Defendants.


                                       NOTICE OF REMOVAL

         TO THE CLERK OF THE COURT, AND TO THE PLAINTIFFS AND THEIR

 ATTORNEYS OF RECORD:

         PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1332(a), 1441 and 1446,

 Defendant Westchester Fire Insurance Company ("Westchester") gives notice of its removal to

 the United States District Court for the Eastern District of Virginia of this action, filed in the

 Circuit Court of Fairfax County, Virginia, under the caption Middleburg Management, LLC, flk/a

 Old Dominion Management Services, LLC, and Christopher C Finlay v. Chubb Limited, j!kla
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 Ace Limited, Westchester Fire Insurance Company, and Beecher Carlson Insurance Services,

 LLC, Case No. CL-16-15060. In support of this Notice, Westchester states as follows:

                                        BACKGROUND

        1.      On October 31, 2016 Plaintiffs Middleburg Management, LLC, f/k/a Old

 Dominion Management Services, LLC ("Middleburg"), and Christopher C. Finlay ("Finlay,"

 and, collectively with Middleburg, "Plaintiffs") filed a Complaint against Chubb Limited, f/k/a

 Ace Limited ("Chubb"), and Westchester, in the Circuit Court of Fairfax County, Virginia (the

 "Circuit Court"), Case No. CL-16-15060 (the "Complaint").

        2.      Westchester's registered agent was served with a summons and a copy of the

 Complaint on November 14, 2016. True and accurate copies of the summons, Complaint and all

 accompanying papers served on Westchester are attached hereto as Exhibit A.

        3.     Plaintiffs moved for and were granted leave to amend the Complaint. On

 December 2, 2016, the court ordered that Plaintiffs' Amended Complaint against Chubb,

 Westchester, and Beecher Carlson Insurance Services, LLC ("Beecher Carlson," and,

 collectively with Chubb and Westchester, "Defendants") (the "Amended Complaint") is timely

 filed as of December 2, 2016.

        4.      Westchester's registered agent was served with copies of the order and Amended

 Complaint on December 13, 2016. True and accurate copies of the order, Amended Complaint

 and all accompanying papers served on Westchester are attached hereto as Exhibit B.

        5.     This action presents a dispute relating to Westchester's denial of insurance

 coverage sought by Plaintiffs in connection with a proceeding pending in the Circuit Court of

 Fairfax County, Virginia (the "Underlying Proceeding"). See Am. Compl. 1127-33.




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        6.      The Amended Complaint asserts claims for breach of contract, third-party

 beneficiary breach of contract, declaratory judgment and reformation against Westchester and

 Chubb, and claims for breach of contract, breach of fiduciary duty, negligence and constructive

 fraud against Beecher Carlson. See Am. Compl. ,r,r 34-86.

        7.      Based on the allegations of the Amended Complaint and for the reasons discussed

 below, Westchester timely removes this action to this Court pursuant to 28 U.S.C. §§ 1332(a),

 1441 and 1446.

                            BASIS FOR FEDERAL JURISDICTION

        8.      28 U.S.C. § 1441(a) states in relevant part: "[e]xcept as otherwise expressly

 provided by Act of Congress, any civil action brought in a State court of which the district courts

 of the United States have original jurisdiction, may be removed by the defendant or the

 defendants, to the district court of the United States for the district and division embracing the

 place where such action is pending."

        9.      This Court has original jurisdiction over this civil action under 28 U.S.C. §

 1332(a) because the amount in controversy exceeds the sum or value of $75,000 and there is

 complete diversity of citizenship between Plaintiffs and Defendants.

        10.     The jurisdictional amount in controversy is met on the face of the Amended

 Complaint, as Plaintiff prays for damages in excess of $17,000,000. See Am. Compl. ,r,r 40, 50,

 56, 59, 64, 71, 77, 86; 28 U.S.C. § 1446(c)(2).

        11.     Plaintiff Middleburg alleges it is a Virginia limited liability company. See Am.

 Compl. ,r 1.

        12.     Upon information and belief, the sole member of Plaintiff Middleburg is RBMM,

 LLC, a Virginia limited liability company.



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        13.     Upon information and belief, the members of RBMM, LLC are the Chris Finlay

 Trust and the Rebecca Finlay Trust.

        14.     Upon information and belief, the Chris Finlay Trust and the Rebecca Finlay Trust

 are citizens of Virginia and neither is a citizen of Pennsylvania or Georgia.

        15.     Plaintiff Finlay alleges he resides in Virginia. See Am. Comp!. 12. Plaintiffs

 therefore are citizens of Virginia for purposes of diversity jurisdiction. 28 U.S.C. § 1332(c)(l).

        16.     Plaintiff alleges that Westchester is a Georgia corporation. See Am. Comp!. 14.

 Westchester is in fact a Pennsylvania corporation with its principal place of business in

 Philadelphia, Pennsylvania, and is therefore a citizen of Pennsylvania for purposes of diversity

 jurisdiction. 28 U.S.C. § 1332(c)(l).

        17.     Plaintiff alleges that Chubb is a New Jersey corporation. See Am. Comp!. 13.

 Chubb is a Swiss corporation with its principal place of business in Zurich, Switzerland, and is

 therefore a citizen of Switzerland for purposes of diversity jurisdiction. 28 U.S.C. § 1332(c)(1).

        18.     Plaintiff alleges that Beecher Carlson is a Georgia limited liability company. See

 Am. Compl. 1 5. Beecher Carlson is California limited liability company with its principal place

 of business in Georgia.

        19.     The sole member of Beecher Carlson is Beecher Carlson Holdings, Inc., a

 Delaware corporation with its principal place of business in Georgia. Beecher Carlson is

 therefore a citizen of Georgia for purposes of diversity jurisdiction.

        20.     Complete diversity exists under 28 U.S.C. § 1332(a) between Plaintiffs and

 Defendants, as no Plaintiff shares citizenship with any Defendant.




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                          VENUE AND PROCEDURAL REQUIREMENTS

         21.     The Circuit Court is located within the Alexandria Division of this District.

 Accordingly, venue in this Court is proper under 28 U.S.C. § 1441(a).

         22.     A copy of this Notice of Removal and the accompanying filings will be served

 upon counsel for Plaintiffs and filed with the clerk of the Circuit Court, as required by 28 U.S.C.

 § 1446(d).

        23.      This Notice of Removal is timely filed under 28 U.S.C. §§ 1446(b) and 1446(c)

 because Westchester was served with the original Complaint on November 14, 2016, within 30

 days from the filing of this Notice of Removal, and this Notice of Removal is being filed less

 than one year after the filing of the Complaint, October 31, 2016.

         24.     Upon information and belief, co-defendant Chubb has not been served with a

 summons and copy of the Complaint. The consent of Chubb to this removal is therefore not

 required at this time.

        25.     Upon information and belief, co-defendant Beecher Carlson has not been served

 with the Amended Complaint.

        26.     Counsel for co-defendant Beecher Carlson has informed counsel for Westchester

 that it intends to join in removal within 30 days of the date it first receives the Amended

 Complaint. 28 U.S.C. § 1446(b)(3).

        27.     By removing this action to this Court, Westchester does not waive any defenses,

 objections or motions available to it under state or federal law. Westchester expressly reserves

 the right to move for dismissal of Plaintiffs claims pursuant to Rule 12 of the Federal Rules of

 Civil Procedure.




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        WHEREFORE, Defendant Westchester respectfully gives notice of the removal of the

 action captioned as Middleburg Management, LLC, f/k/a Old Dominion Management Services,

 LLC, and Christopher C. Finlay v. Chubb Limited, f/k/a Ace Limited, Westchester Fire Insurance

 Company, and Beecher Carlson Insurance Services, LLC, Case No. CL-16-15060, pending in

 the Circuit Court of Fairfax County, Virginia, to this Court.



 Dated: December 14, 2016                                            Isl
                                                   Brian A. Coleman (VSB No. 41352)
                                                   DRINKER BIDDLE & REATH LLP
                                                   1500 K Street, NW
                                                   Washington, DC 20005
                                                   Telephone: (202) 842-8800
                                                   Facsimile: (202) 842-8465
                                                   brian.coleman@dbr.com

                                                   Counsel for Westchester Fire Insurance
                                                   Company




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on the 14th day of December 2016, I will electronically file the

 foregoing with the Clerk of Court using the CMIECF system, which will then send a notification

 of such filing (NEF) to all counsel of record. I further certify that on the above date, a copy of

 the foregoing was sent via first-class mail, postage prepaid, to the following:

                Douglas R. Kay
                Alina L. Czaplicki
                OFFIT KURMAN, P.C.
                8000 Towers Crescent Drive, Suite 1500
                Tysons Corner, VA 22182
                dkay@offitkurman.com
                aczaplicki@offitkurman.com

                William G. Tishkoff
                Michael R. Wolin
                Sarah Wixson
                Tishkoff & Associates PLLC
                407 North Main Street
                Ann Arbor, MI 48104
                will@tishlaw.com
                mike@tishlaw.com
                sarah@tishlaw.com




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